1. (a) The evidence sustains the verdict.
(b) The evidence sufficiently showed that the offense was committed within the two-year statutory limitation period.
2. In a prosecution for a violation of the lottery laws, it is not error to admit evidence showing or tending to show that the defendant had been convicted of like crimes on other occasions. Such evidence, in connection with other circumstances corroborative of the evidence relating to the defendant's commission of the alleged crime, is relevant to show intent or motive.
                         DECIDED JUNE 30, 1944.
The defendant was tried and convicted of operating a lottery known as the "number game." His certiorari was overruled and dismissed, and error is assigned on that judgment. The State introduced evidence explaining the manner and operation of the lottery known as the "number game;" that the "number game" was in operation in Fulton County at the time of the defendant's arrest; and that the officers who arrested him, on the day he was arrested (Oct. 30, 1943), and on a previous occasion (about August 17, 1943), obtained from his home a number of original yellow lottery tickets, the same being tickets purporting to have been sent to the headquarters of the lottery, and several sheets of adding-machine tape, and other lottery memoranda. It was shown that these tickets and other memoranda were the kind used in the operation of the "number game," and the evidence disclosed that they evidenced transactions running into hundreds of dollars. Witnesses explained the entries on them as applied to the "number game." They bore no dates. The officers also located and procured several sacks of money from a clothes closet in the home of the defendant. A good deal of lottery paraphernalia was taken from a dresser drawer in the defendant's room. Several sacks of pennies, some dimes, and other denominations of money were found in sacks in the defendant's room. Several of the sacks of pennies were put into a pillow case by the officers. At the time of his arrest the defendant had $1245 on his person. The officers also seized two adding machines. These machines were operated by hand, and were under a bed in the children's room, and were dusty. They did not appear to have been used recently. The assignments of error are designated as a, b, c, d, and e. *Page 351 
1. The assignments of error designated a, b, c, and d may be considered together as the general grounds. It is argued under grounds a, b, and c that there is no sufficient, competent, legal evidence to sustain the verdict; and under ground d that there is no evidence to show that the crime, if any, was committed within the two-year period of the statute of limitation. As to the sufficiency of the evidence to sustain the verdict here, all the arguments urged in this case are controlled by what we have said in the case of Mills v. State, 71 Ga. App. 353
(30 S.E.2d 824). As to the contention that the evidence does not show that the crime was committed within the two-year limitation period, this question is controlled adversely to the movant by the decision in the case of Lunsford v.State, 60 Ga. App. 537 (4 S.E.2d 112), and Williams v.State, 71 Ga. App. 155 (30 S.E.2d 356). Moreover, we might here state that the paraphernalia found authorized the jury to conclude that all except the adding machines were current, and currently used in the participation in and the maintenance of the lottery which was proved to be in operation on the date of the arrest. As to the adding machines, the evidence disclosed that they were not used in the operation of the lottery, but they were offered in evidence by the State with the other articles, in bulk, and the objection interposed to the introduction of the entire bulk of the articles was that "we object to everything offered in evidence except the money taken off Mr. Christian, $1200 approximately, on the ground that Mr. Christian has not been connected with any of them." The court overruled the objection, and admitted the evidence. Since all of the evidence was admissible except perhaps the adding machines, the court did not err in admitting all of the evidence offered in bulk, under these general objections. Notwithstanding the lottery tickets bore no date and it did not appear that the adding-machine tape was produced by the use of either of the machines seized, the jury were amply authorized to find that at the time of the defendant's arrest he was engaged as a banker or headquarters-man in the operation and maintenance of a lottery known as the "number game." *Page 352 
2. Special ground e assigns error on the admission in evidence of a previous conviction of "Frank Christian" of a similar offense in 1937 in the criminal court of Fulton County, which was introduced for the purpose of showing the state of mind, motive, and intent of the defendant. The objection argued to the introduction of this testimony is three-fold: (1) That it was too remote; (2) that the defendant was not identified as the person named in the previous accusation; and (3) that the accusation had written on its face "paid fine for speeding," and "paid damages to W. O. Slaton for damage to automobile." The first two contentions are controlled adversely to the defendant by the decision in Mills v. State, supra. As to the third contention, the court specifically stated to the jury that, in considering the case, they should not consider the notations as to speeding and payment of damages. The court further instructed the jury specifically that the conviction on the other occasion should not be considered by them for any purpose except to illustrate the state of the defendant's mind. As to the notations, in view of the instructions given by the court, this is controlled adversely to the defendant in Hyde v. State,196 Ga. 475 (5) (26 S.E.2d 744).
The court did not err in dismissing the certiorari for any of the reasons assigned.
Judgment affirmed. Broyles, C. J., and MacIntyre, J., concur.